     Case 2:21-cr-00540-SB Document 27 Filed 06/28/22 Page 1 of 6 Page ID #:173



 1    DAVID C. SCHEPER (SBN: 120174)
      dscheper@winston.com
 2    JEFFREY L. STEINFELD (SBN: 294848)
      jlsteinfeld@winston.com
 3    WINSTON & STRAWN LLP
      333 S. Grand Avenue
 4    Los Angeles, CA 90071-1543
      Telephone: (213) 615-1700
 5    Facsimile: (213) 615-1750
 6    Attorneys for Defendant
      PAUL O. PARADIS
 7
      Additional counsel listed on next page
 8
 9
10                         UNITED STATES DISTRICT COURT
11                             CALIFORNIA CENTRAL DISTRICT
12
      UNITED STATES OF AMERICA,                Case No. 2:21-cr-00540-SB
13
                  Plaintiff,                   Hon. Stanley Blumenfeld, Jr.
14                                             Courtroom 6C
            v.
15                                             REDACTED - PUBLIC VERSION
      PAUL O. PARADIS,
16                                             JOINT STIPULATION TO
                  Defendant.                   CONTINUE DEFENDANT PAUL
17                                             PARADIS’ SENTENCING DATE
18                                             Concurrently filed with [Proposed] Order
19
20                                             Action Filed: November 29, 2021
21                                             Hearing Date: July 19, 2022
                                               Hearing Time: 8:00 a.m.
22
23
24
25
26
27
28

                                                  1
     Case 2:21-cr-00540-SB Document 27 Filed 06/28/22 Page 2 of 6 Page ID #:174



 1    TRACY L. WILKISON
      United States Attorney
 2    SCOTT M. GARRINGER
      Assistant United States Attorney
 3    Chief, Criminal Division
      J. JAMARI BUXON (SBN: 342364)
 4    SUSAN S. HAR (SBN: 301924)
      Assistant United States Attorneys
 5    Public Corruption and Civil Rights Section
      1500 United States Courthouse
 6    312 North Spring Street
      Los Angeles, California 90012
 7    Telephone: (213) 894-0627
      Facsimile: (213) 894-7631
 8    Email:     Jamari.Buxton@usdoj.gov
                 Susan.Har@usdoj.gov
 9
      Attorneys for Plaintiff
10    UNITED STATES OF AMERICA
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               1
     Case 2:21-cr-00540-SB Document 27 Filed 06/28/22 Page 3 of 6 Page ID #:175



 1                                   JOINT STIPULATION
 2          WHEREAS, on November 29, 2021, plaintiff the United States of America (the
 3    “Government”) filed a one-count information (the “Information”) charging defendant
 4    Paul O. Paradis (“Paradis”) with Bribery Concerning Programs Receiving Federal
 5    Funds, in violation of 18 U.S.C. § 666(a)(1)(B);
 6          WHEREAS, on November 29, 2021, Paradis entered into a plea agreement (the
 7    “Plea Agreement”) with the Government regarding the Information;
 8          WHEREAS, the Plea Agreement requires, among other things, that Paradis
 9    “cooperate fully with the [United States Attorney’s Office (“USAO”)], the Federal
10    Bureau of Investigation, and as directed by the USAO, any other federal, state, local,
11    or foreign prosecuting, enforcement, administrative, regulatory, or licensing authority,
12    including the Bar of any state”;
13          WHEREAS, on January 28, 2022, Paradis entered a guilty plea to the
14    Information and the Court set the sentencing date as July 19, 2022 at 8:00 AM;
15          WHEREAS, at the January 28, 2022 plea hearing, the Government informed
16    the Court that it “requires some additional time with Paradis because his cooperation
17    is continuing in this investigation” and that “with the Court’s indulgence” if the
18    cooperation “require[s] additional time” beyond July, the parties would “ask for a
19    continuance” (1/28/2022 Tr. at 28:9-14);
20          WHEREAS, Confidential Information Related To An Ongoing Investigation
21
22
23
24
25
26
27
28

                                          1
              JOINT STIPULATION TO CONTINUE MR. PARADIS’ SENTENCING DATE
     Case 2:21-cr-00540-SB Document 27 Filed 06/28/22 Page 4 of 6 Page ID #:176



 1    Confidential Information Related To An Ongoing Investigation
 2
 3
 4
 5          WHEREAS, Confidential Information Related To An Ongoing Investigation
 6
 7
 8          WHEREAS, Confidential Information Related To An Ongoing Investigation
 9
10
11
12
13
14
15
16          WHEREAS, Confidential Information Related To An Ongoing Investigation
17
18
19
20          WHEREAS, Mr. Paradis and the Government support a modest four-month
21    continuance Confidential Information Related To An Ongoing Investigation
22          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, that:
23             Paradis’ sentencing date be continued for four months from July 19,
24             2022 to November 22, 2022 at 8:00 AM or as soon thereafter as the
25             Court orders;
26    IT IS SO STIPULATED.
27
28

                                          2
              JOINT STIPULATION TO CONTINUE MR. PARADIS’ SENTENCING DATE
     Case 2:21-cr-00540-SB Document 27 Filed 06/28/22 Page 5 of 6 Page ID #:177



 1    Dated: June 28, 2022                WINSTON & STRAWN LLP
 2
 3                                        By:
                                                DAVID C. SCHEPER
 4                                              JEFFREY L. STEINFELD
                                                Attorneys for Defendant
 5                                              PAUL O. PARADIS
 6
 7
 8    Dated: June 28, 2022                UNITED STATES ATTORNEY’S OFFICE
                                          FOR THE CENTRAL DISTIRCT OF
 9                                        CALIFORNIA
10                                        TRACY L. WILKISON
                                          United States Attorney
11
12
                                          By: /s J. Jamari Buxton
13                                           J. JAMARI BUXTON
                                             SUSAN S. HAR
14                                           Assistant United States Attorney
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                          3
              JOINT STIPULATION TO CONTINUE MR. PARADIS’ SENTENCING DATE
     Case 2:21-cr-00540-SB Document 27 Filed 06/28/22 Page 6 of 6 Page ID #:178



 1                     ATTESTATION PURSUANT TO LOCAL RULE 5-4.3(a)(2)(i)
 2
              I, Jeffrey L. Steinfeld, am the ECF User whose identification and password are being used to
 3
 4    file this stipulation. Per Local Rule 5-4.3(a)(2)(i), I hereby attest that all other signatories listed and

 5    whose behalf the filing is submitted, concur in the filing’s content and have authorized the filing.

 6
 7    DATED: June 28, 2022                                    BY: ________________________________
 8
                                                                      Jeffrey L. Steinfeld
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                            4
                JOINT STIPULATION TO CONTINUE MR. PARADIS’ SENTENCING DATE
